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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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     UNITED STATE OF AMERICA,

                                                                              MEMORANDUM & ORDER
                  -against-
                                                                                   03-CR-297-7 (NGG)
     JOSE FELICIANO,
                                    Defendant.
 ---------------------------------------------------------------------)(
NICHOLAS G. GARAUFIS, United States District Judge.

         Before the court is Defendant Jose Feliciano's motion for a reduction in sentence,

pursuant to 18 U.S.C. § 3582(c)(2). (Mot. for Sentencing Reduction ("Def.'s Second Mot.")

(Dkt. 690).) For the reasons discussed below, Defendant's motion is DENIED.

I.       BACKGROUND

         On July 18, 2005, Defendant pleaded guilty to conspiracy to distribute and possess with

intent to distribute crack cocaine and heroin, in violation of 21 U.S.C.

 §§ 84l(a)(l), 841(b)(l)(A), and 846. (See Min. Entry (Dkt. 391).) On January 12, 2006, the

court sentenced Defendant to a term of 186 months of imprisonment, a term of five years of

 supervised release, and a $100 special assessment. (J. (Dkt. 423).)

         According to the terms of his plea agreement with the Government, Defendant accepted

responsibility for at least 1.5 kilograms of crack cocaine and/or 30 kilograms of heroin. See

United States v. Feliciano, No. 03-CV-297 (NGO), 2014 WL 3965120, *1 (E.D.N.Y.

Aug. 13, 2014). At sentencing, the court determined that Defendant was responsible for 33

kilograms of crack cocaine and 66 kilograms of heroin, corresponding to 726,000 kilograms of

marijuana according to the Drug Equivalency Tables of the U.S. Sentencing Guidelines (the

"Guidelines"). Id. According to the Guidelines at the time, that quantity corresponded to a base

offense level of38. Id. (citing U.S.S.G. § 2Dl.l(c)). Defendant received a three-point reduction
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 for acceptance of responsibility, resulting in a total offense level of 35. Id. In addition, the court

 reduced Defendant's criminal history from Category IV to Category III, in accordance with the

plea agreement. Id. (See also Sentencing Tr. (Dkt. 680) at 10-11.) The court then calculated the

relevant Guideline range to be 210 to 262 months of imprisonment but, accounting for 24 months

served on related convictions, sentenced Defendant to 186 months of imprisonment, along with

five years of supervised release and a $100 special assessment. (J. at 2-3; see also Sentencing Tr.

at 22.)

          On April 30, 2010, Defendant filed a prose motion requesting that his sentence be

reduced pursuant to amendments to the Guidelines which reduced the base offense level for most

crack-cocaine offenses. (Motion Pursuant to 18 U.S.C. 3582(c)(2) ("Def.'s First Mot.)

(Dkt. 597).) On August 13, 2014, the court denied Defendant's motion on the grounds that

Defendant was ineligible for a sentence reduction, because the relevant amendments did not

reduce the applicable Guideline range. See Feliciano, 2014 WL 3965120, at *2.

          On November 12, 2014, Defendant filed a second motion requesting that his sentence be

reduced pursuant to§ 3582. (Def. 's Second Mot.) Defendant's latest motion relies on

Amendment 782 to the Guidelines, effective November 1, 2014, which modified the base offense

levels in the Drug Quantity Table of section 2D 1.1, and thereby lowered the sentencing range for

certain drug-related offenses. See U.S.S.G. App. C (Supp.) at 64, 71, 74 (2014).

II.       LEGAL STANDARD

          Defendant filed the instant motion for resentencing pursuant to 18 U.S.C. § 3582(c)(2),

 which provides that a term of imprisonment may be modified "in the case of a defendant who

has been sentenced to a term of imprisonment based on a sentencing range that has subsequently

 been lowered by the Sentencing Commission ... after considering the factors set forth



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 in [18 U.S.C. §] 3553(a) to the extent that they are applicable, if such a reduction is consistent

 with applicable policy statements issued by the Sentencing Commission." The Supreme Court

 has established a two-step inquiry to guide a district court in its consideration of a§ 3582(c)(2)

 motion. See Dillon v. United States, 560 U.S. 817, 826 (2010); United States v. Christie, 736

 F.3d 191, 194-95 (2d Cir. 2013). "First, the district court must determine whether the defendant

 in question is 'eligible for a reduction in sentence."' Christie, 736 F.3d at 194 (emphasis in

 original) (quoting United States v. Mock, 612 F.3d 133, 137 (2d Cir. 2010)). Second, if a

defendant is eligible for resentencing, the court must then consider any applicable § 3553(a)

factors to determine whether the authorized reduction is warranted in whole or in part under the

particular circumstances of the defendant's case. Dillon, 560 U.S. at 827.

        Amendment 782 modified the base offense levels in the Drug Quantity Table at

section 201.1 of the Guidelines, and thereby lowered the sentencing range for certain drug-

related offenses. See U.S.S.G. App. C (Supp.) at 64, 71, 74 (2014). Amendment 788 to the

 Guidelines provides that Amendment 782 applies retroactively to defendants sentenced before its

effective date. See id. at 86-88 (amending U.S.S.G. § IBl.lO(d) (listing sentencing amendments

 eligible for retroactive application)). However, unlike other amendments-and although

Amendment 782 is "effective" November l, 2014-"[t]he court shall not order a reduced term of

 imprisonment based on Amendment 782 unless the effective date of the court's order is

November 1, 2015, or later." U.S.S.G. § lBl.lO(e)(l). While subsection (e)(l) thus postpones

the effective date of any reduced sentence, it does not preclude the court from conducting

resentencing proceedings or entering orders pursuant to§ 3582(c)(2) before November 1, 2015,

so long as the effective date of the order is November 1, 2015, or later. See id.§ lBl.10 cmt. 6;

see also, e.g., United States v. Vargas, --- F. Supp. 3d ---, No. 05-CR-1327 (VM), 2015



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WL 708540, at *1 (S.D.N.Y. Feb. 10, 2015) (discussing effective dates and granting defendant's

motion for a reduction in sentence, "effective on November 1, 2015").

        If a defendant is eligible for a reduction in sentence, the court proceeds to the second step

of the Dillon analysis to determine whether a reduction in sentence is warranted in light of the

factors enumerated in 18 U.S.C. § 3553(a). See Dillon, 560 U.S. at 827. Under § 3553(a), the

court must consider, among other things, "the nature and circumstances of the offense and the

history and characteristics of the defendant," and the need for the sentence imposed to "protect

the public from further crimes of the defendant." See 18 U.S.C. § 3553(a). Where a reduction is

authorized, the Guidelines provide that "the court shall not reduce the defendant's term of

imprisonment under 18 U.S.C. § 3582(c)(2) ... to a term that is less than the minimum of the

amended guideline range." U.S.S.G. § 1Bl.10(b)(2)(A). But see id.§ 1Bl.10(b)(2)(B) (setting

forth exception for a defendant sentenced pursuant to a government motion reflecting

defendant's substantial assistance to authorities). Ultimately, the Guidelines establish that "[i]n

no event may the reduced term of imprisonment be less than the term of imprisonment the

defendant has already served." Id. § lB 1.1 O(b)(2)(C).

 III.   APPLICATION

        Defendant is not eligible for a reduction in sentence, and his motion therefore fails at the

 first step of the Dillon analysis. While Amendment 782 modified the Guidelines' Drug Quantity

 Table and corresponding base offense levels, Defendant is responsible for a quantity of drugs

that still significantly exceeds the amount corresponding to the base offense level of 38. See

 U.S.S.G. § 2D. l. l(c) (showing that 25.2 kilograms of cocaine base alone corresponds to a base




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offense level of 38). 1 Therefore, subtracting three points for acceptance of responsibility,

Defendant's total offense level remains 35. Given Defendant's Criminal History Category oflII,

his amended Guideline range remains 210 to 262 months of imprisonment. See U.S.S.G. §SA

(Sentencing Table).

         A defendant's sentence may only be reduced when he or she was "sentenced to a term of

imprisonment based on a sentencing range that has subsequently been lowered by the Sentencing

Commission." 18 U.S.C. § 3582(c)(2). While Defendant was sentenced to 186 months of

imprisonment, his sentence was based on a range of 210 to 262 months, with credit for time

served on related convictions. (See J. at 2-3; Sentencing Tr. at 22.) Given the quantity of drugs

to which Defendant pleaded guilty, his Guideline range has not been lowered, and he is therefore

ineligible for resentencing.

IV.      CONCLUSION

         For the reasons set forth above, Defendant is not eligible for a sentence reduction

under 18 U.S.C. § 3582(c)(2). Accordingly, the court need not consider whether a reduction is

warranted. See Dillon, 560 U.S. at 826. Defendant's motion for a reduced sentence pursuant

to 18 U.S.C. § 3582(c)(2) is DENIED.

         SO ORDERED.
                                                                              s/Nicholas G. Garaufis

 Dated: Brooklyn, New York                                                       CHOLAS G. GARAU IS
        Octobe~, 2015                                                           nited States District Judge




 1 This Memorandum and Opinion uses the term "crack cocaine," while the Sentencing Guidelines refers to "cocaine
 base." For our purposes, the terms are interchangeable. See DePierre v. United States, 131 S.Ct. 2225 (2011)
 (holding that crack cocaine is a type of cocaine base).

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